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16
                            UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
17
     JENNY LISETTE FLORES; et al.,            )   Case No. CV 85-4544
18                                            )
             Plaintiffs,                      )   DEFENDANTS’ RESPONSE IN
19
                                              )   OPPOSITION TO PLAINTIFFS’
20                v.                          )   MOTION TO ENFORCE SETTLEMENT
                                              )   AND APPOINT A SPECIAL MONITOR
21   LORETTA E. LYNCH, Attorney               )
     General of the United States; et al.,    )   Hearing Date: June 24, 2016
22
                                              )   Time: 11:00am
23           Defendants.                      )   Dept: Courtroom 7, Los Angeles - Spring
                                              )   Street Courthouse
24                                            )
25

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 1        I.          INTRODUCTION
 2
            The Court’s August 21, 2015 Order Re Response to Order to Show Cause (ECF
 3
     No. 189) (“August Order”), required the Government to implement six remedies prior to
 4

 5   October 23, 2015. Although the Government appealed this Order, it did not seek to stay

 6   these remedies. On the contrary, the Government deployed significant personnel,
 7
     funding, and infrastructure to quickly ensure its compliance with the Court’s directives.
 8
            Simply put, not only has the Government complied with this Court’s August Order
 9
     since October 2015, it has carefully monitored and documented its compliance. The
10

11   Government can conclusively dispute a number of the allegations made by the Plaintiffs
12   in their May 19, 2016, Motion to Enforce Settlement and Appoint a Special Monitor
13
     (ECF No. 201) (“Motion”). Indeed, further litigation could have been avoided had
14
     Plaintiffs discussed their factual allegations with the Government prior to filing as
15

16   required by the Local Rules and the Flores Settlement Agreement (“Agreement”) so that

17   their mistaken impressions could be clarified, or if there were any legitimate concerns,
18
     those could be addressed. But Plaintiffs chose not to do that here.
19
               In fact, when looked at more closely, Plaintiffs’ Motion appears to take issue not
20
     with the Government’s conduct, but with the Court’s August Order. But a motion to
21

22   enforce is not a tool to lodge a an untimely motion for reconsideration. Each of Plaintiffs’
23   claims seeks an end-run around the Court’s August Order, and should be denied.
24
            For instance, Plaintiffs cannot use this motion as a means to re-litigate the issue of
25
     whether a special monitor should be appointed to oversee the conditions at U.S. Customs
26

     and Border Protection (“CBP”) facilities. The Court already considered this issue in


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 1   Plaintiffs’ last enforcement action, and concluded that even to the extent that CBP
 2
     facilities were in breach of the Agreement, the appropriate remedy was to require CBP to
 3
     “monitor compliance with their acknowledged standards and procedures” for complying
 4

 5   with the Agreement (or to use a special monitor for those purposes, but only if both

 6   parties agreed to that appointment). August Order at 14-15. As shown below, CBP has
 7
     taken extensive steps to monitor its compliance with the Agreement.
 8
            Plaintiffs have filed a number of unreliable hearsay (and hearsay within hearsay)
 9
     declarations in support of their contention that CBP still is not in compliance with the
10

11   Agreement such that oversight by a special monitor is required. But as CBP demonstrates
12   below, CBP complies with the Agreement and monitors that compliance as ordered by
13
     the Court. Based on CBP’s evidence, the Court should conclude that Plaintiffs have
14
     provided no basis for the Court to reconsider the August Order, and should deny
15

16   Plaintiffs’ Motion with regard to CBP. In any event, the Court should not reconsider its

17   August Order and order the supplemental relief that Plaintiffs are seeking unless and until
18
     the clearly disputed factual issue of CBP’s compliance with the Agreement is fully and
19
     fairly explored and resolved at an evidentiary hearing.
20
            Additionally, Plaintiffs’ claims regarding U.S. Immigration and Customs
21

22   Enforcement (“ICE”) family residential centers are an attempt to re-litigate issues already
23   resolved by the Court’s August Order, and appear to take issue with the fact that the
24
     August Order allowed those facilities to continue to operate at all.
25
            Plaintiffs’ claims challenge the system of expeditious processing and release for
26

     the vast majority of family units that the Court found entirely permissible in its August


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 1   Order. Their claims further challenge the continued detention of a small number of family
 2
     units who are being detained in order to remove them from the United States, including
 3
     families subject to expedited removal orders who have failed to establish eligibility for
 4

 5   the relief or protection sought and are subject to mandatory detention, and families

 6   subject to final orders of removal whose head of household has been determined to be a
 7
     flight risk. Plaintiffs’ challenges ignore the fact that the Court’s July and August Orders
 8
     specifically found that in such instances it is permissible to continue to detain these
 9
     family units, and that keeping the child with the parent is both permissible and preferable.
10

11             Further, Plaintiffs make claims that are inaccurate, misleading, or an attempt to
12   improperly substitute their judgment regarding the operations of ICE family residential
13
     centers in place of the judgment of those authorized by Congress to administer these
14
     facilities. Plaintiffs have provided no basis to find that ICE family residential centers are
15

16   operated in a manner that is inconsistent with the Court’s August Order and the

17   Agreement as it has been interpreted by the Court. Therefore, Plaintiffs’ Motion with
18
     regard to ICE family residential centers also should be denied.
19
         II.           BACKGROUND
20

21
                  A.     CBP Has Implemented Standards And Procedures That Ensure
                         Compliance With The Agreement, Complies With Those Standards
22                       And Procedures, And Adequately Monitors Compliance With
                         Those Standards And Procedures.
23

24
            CBP’s hundreds of short-term detention and processing facilities are located

25   throughout the United States, both at and between U.S. ports of entry. See Declaration of
26
     Ronald D. Vitiello (“Vitiello Decl.”), ¶ 1, attached hereto as Exh. 1; Declaration of Todd.

     C. Owen (“Owen Decl.”), ¶ 2, attached hereto as Exh. 2 These facilities are operated by
                                                     3
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 1   Border Patrol (between ports of entry), and the Office of Field Operations (“OFO”) (at
 2
     ports of entry throughout the United States). See Vitiello Decl. ¶ 1; Owen Decl. ¶ 2.
 3
     Juveniles in CBP custody following apprehension or encounter may be held at any of
 4

 5   these facilities depending on the manner and location of their apprehension. Because

 6   these facilities operate throughout the United States in areas with different visitor and
 7
     immigrant flows and populations, and different security and operational concerns, there
 8
     can be no one-size-fits-all manner in which the Agreement is applied at CBP facilities.
 9
            The Agreement requires that “[f]ollowing arrest, the INS shall hold minors in
10

11   facilities that are safe and sanitary and that are consistent with the INS’s concern for the
12   particular vulnerability of minors.” Agreement ¶ 12.A. More specifically, the
13
     Agreement requires CBP to “provide access to toilets and sinks, drinking water and food
14
     as appropriate, medical assistance if the minor is in need of emergency services, adequate
15

16   temperature control and ventilation, adequate supervision to protect minors from others,

17   and contact with family members who were arrested with the minor.” Id.
18
            In its July 24, 2015 Order (“July Order”) in this case, this Court reviewed
19
     documentary evidence presented by Plaintiffs regarding conditions allegedly experienced
20
     by a juveniles at CBP facilities in the Rio Grande Valley area of Texas over a very short
21

22   period of time during or immediately following the 2014 immigration surge. Based only
23   on this limited evidence, the Court concluded that “Defendants have wholly failed to
24
     meet even [the] minimal standard [set forth in the Agreement].” July Order at 18. In its
25
     August Order, the Court then clarified that it was not finding that all CBP facilities were
26

     in breach of the Agreement, but was holding that “to the extent any Border Patrol station


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 1    is out of compliance with the Agreement, those stations must comply with the Agreement
 2
      and Defendants’ own acknowledged standards and procedures.” August Order at 13. The
 3
      Court further ordered that CBP should “monitor compliance with their acknowledged
 4

 5    standards and procedures” for complying with the Agreement, or in the alternative should

 6    agree to the appointment of a special monitor for that purpose. Id. at 14-15.
 7
             As discussed more fully below, CBP complies with the Agreement, and complies
 8
      with the Court’s order to monitor that compliance. Following the Court’s August Order,
 9
      CBP took nationwide action to ensure that it had implemented systems that could
10

11    effectively monitor compliance with the requirements of the Agreement at all Border
12    Patrol and OFO facilities. See generally Declaration of Justin Bristow (“Bristow Decl.”),
13
      attached hereto as Exh. 3; Declaration of Todd Hoffman (“Hoffman Decl.”), attached
14
      hereto as Exh. 4. CBP headquarters also communicated with leadership at all Border
15

16    Patrol and OFO facilities regarding the importance of monitoring, and ensured that all

17    agents were trained with regard to any new monitoring requirements. See Vitiello Decl.
18
      ¶¶ 29-31; Owen Decl. ¶¶ 18-35. In October 2015, CBP put into place new nationwide
19
      standards that comprehensively govern detention at all CBP facilities, including those
20
      aspects of detention covered by the Agreement. See U.S. Customs and Border Protection,
21

22    National Standards on Transport, Escort, Detention, and Search (“TEDS”), October 2015,
23    available at: https://www.cbp.gov/sites/default/files/documents/cbp-teds-policy-
24
      20151005_1.pdf. Finally, CBP put into place an additional, comprehensive system of
25
      inspection that will review the conditions at Border Patrol and OFO facilities nationwide.
26

      See generally Declaration of Sean Mildrew (“Mildrew Decl.”), attached hereto as Exh. 5.


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 1           These changes, combined with the already existing processes and procedures used
 2
      by CBP to ensure compliance with the Agreement, ensure that CBP is at all times
 3
      “hold[ing] minors in facilities that are safe and sanitary and that are consistent with the
 4

 5    INS’s concern for the particular vulnerability of minors.” Agreement ¶ 12.A.

 6                      1. CBP Has Standards and Procedures In Place That Ensure
                           Compliance With The Agreement.
 7

 8           In the August Order, the Court found that CBP had put forth evidence of

 9    “Defendants’ own acknowledged standards and procedures[,]” and therefore ordered
10
      CBP to “monitor compliance with their acknowledged standards and procedures” for
11
      complying with the Agreement. August Order at 13, 14-15; see also Defendants’
12

13
      Response in Opposition to Plaintiffs’ Motion to Enforce Settlement of Class Action, Feb.

14    27, 2015, ECF No. 121, at 20-25, and supporting exhibits. Plaintiffs do not contend
15
      anywhere in their motion that CBP does not have such standards in place. Therefore,
16
      there is no dispute that CBP has standards and procedures in place that require
17
      compliance with the Agreement. Border Patrol and OFO policies have long emphasized
18

19    the importance of treating juveniles in accordance with the terms of the Agreement. See

20    Owen Decl. ¶¶ 13-15; Vitiello Decl. ¶¶ 8-10.
21
             Moreover, in October 2015, TEDS was put into place. TEDS provides
22
      comprehensive nationwide standards that govern all aspects of detention at CBP
23

24
      facilities, including those standards required by the Agreement. Specifically, TEDS

25    requires that at-risk populations, including juveniles, should be treated “with dignity,
26
      respect and special concern for their particular vulnerability.” TEDS § 5.1. Juveniles

      should be placed in the “least restrictive setting appropriate to their age and special needs,
                                                    6
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 1    provided that such setting is consistent with the need to ensure the safety and security of
 2
      the detainee and that of others[,]” and efforts should be made to minimize time in custody
 3
      by expediting processing time. TEDS § 5.6.
 4

 5           Where possible, family units should not be separated, or when they must be

 6    separated, the reasons for that separation should be documented in the applicable system
 7
      of record. Id. Unaccompanied Alien Children (“UACs”) must be held separately from
 8
      unrelated adult detainees. Id. Every effort should be made to transfer those UACs not
 9
      permitted to withdraw their application for admission to the custody of the U.S.
10

11    Department of Health and Human Services as quickly as possible, and any delay in
12    transfer over 72 hours must be logged and a reason provided in the appropriate system of
13
      record. Id.
14
             Juveniles are provided access to basic hygiene items, clean bedding, and clean
15

16    clothes where available. Id. Juveniles are offered a snack upon arrival, and a meal at least

17    every six hours thereafter, at regularly scheduled meal times, with at least two of those
18
      meals being hot meals. Id. Juveniles also must have regular access to snacks, milk, and
19
      juice. Id. Age appropriate food such as formula or baby food also must be made
20
      available. Id. Reasonable efforts should be made to provide juveniles with a shower if
21

22    they approach 48 hours in CBP custody. Id.
23           TEDS specifically provides that hold rooms for juveniles must provide: toilets and
24
      sinks; professional cleaning and sanitizing at least once per day; drinking fountains or
25
      clean drinking water along with clean drinking cups; adequate temperature control and
26

      ventilation; and clean bedding. Id. Hold rooms where juveniles are held should be


                                                   7
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 1    regularly checked, and those checks should be recorded in the applicable system of
 2
      record. TEDS § 5.1. If any injury or illness is observed by a CBP agent or officer, it
 3
      should be reported to a supervisor, and appropriate medical care should be provided or
 4

 5    sought. TEDS § 5.6. Emergency services also are called immediately in the event of a

 6    medical emergency. Id.
 7
             TEDS further restricts the number of individuals who may be held in a CBP hold
 8
      room to less than the capacity of that room, and requires regular hold room checks to be
 9
      conducted and recorded “to ensure proper occupancy levels, safety, hygiene, and the
10

11    availability of drinking water.” TEDS § 4.7. “All facilities or hold rooms used to hold
12    detainees must be regularly and professionally cleaned and sanitized.” Id. Finally, TEDS
13
      requires that the temperature at CBP facilities should be maintained “within a reasonable
14
      and comfortable range for both detainees and officers/agents[,]” and that “[u]nder no
15

16    circumstances will officers/agents use temperature controls in a punitive manner.” Id.

17                     2. CBP Monitors Compliance With The Agreement At Its Facilities.
18
             Border Patrol records its custodial actions using a system called e3DM. See
19
      Bristow Decl. ¶¶ 2, 5-12. OFO tracks custodial actions for individuals in custody at ports-
20
      of-entry using a system called SIGMA. Hoffman Decl. ¶¶ 3-11. 1 To ensure and monitor
21

22    compliance with the Court’s August Order, Border Patrol and OFO instituted system-
23    wide changes to both e3DM and SIGMA to provide even more comprehensive tracking
24
      related to juveniles, so that CBP could more effectively monitor compliance with all
25
      1
        Border Patrol and OFO also maintain paper forms that can be used to record the
26
      necessary information in the event that e3DM or SIGMA become inoperable; that
      information is entered into the applicable system once it returns to operation. Bristow
      Decl. ¶ 14; Hoffman Decl. ¶ 13.
                                                   8
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 1    aspects the Agreement. Bristow Decl. ¶¶ 13, 15; Hoffman Decl. ¶¶ 12, 14; Vitiello Decl.
 2
      ¶¶ 28-31; Owen Decl. ¶¶ 20-35.
 3
            CBP systems are used to monitor compliance with the Agreement as follows:
 4

 5       • Documenting family units: These systems are used to track whether a juvenile is
           accompanied by a claimed family member or legal guardian, or is unaccompanied.
 6

 7
         • Separation of juveniles from family members: If a juvenile is separated from a
           family member the reason (for example: it was operationally infeasible to keep
 8         them together, there was a security or medical concern, or the family relationship
           was in question), must be noted. If separation occurs, the system also provides for
 9         documenting whether contact is allowed. If contact is not allowed, the reason will
10         be noted.

11       • Conditions: Both e3DM and SIGMA track the following conditions in all cells in
           which juveniles are placed: whether water is available; whether the fixtures (such
12
           as toilets and sinks) are functioning; whether the cell is clean and sanitary; and
13         whether the temperature of the cell is between 66 and 80 degrees. If the conditions
           of a cell are not compliant, the officer or agent must note the reasons for the
14         anomaly and any steps being taken to fix the problem.
15
         • Food: Every time food is offered to a juvenile, it must be documented. If the food
16         is refused, that must be documented as well.
17
         • Medical assistance: All medical care provided to each juvenile must be recorded,
18         including whether that medical care was provided by CBP employees or by third
           party medical providers.
19

20
         • Welfare checks: Welfare checks are regular checks of hold rooms to ensure the
           safety and well-being of those in the room. Welfare checks include a visual check
21         of the area to ensure that the hold room continues to be safe and sanitary, that the
           juvenile has access to drinking water and a functional toilet, and that the
22         ventilation system for the area is operational. Every time a welfare check is
23
           conducted it is noted in the applicable systems.

24    Bristow Decl. ¶¶ 13, 15-16; Hoffman Decl. ¶¶ 12, 14-16. Agents and officers at CBP
25
      facilities nationwide are aware of the requirement that they document these actions, have
26
      been instructed by their leadership on the importance of this requirement, and regularly

      do so. Declaration of Paul A. Beeson (“Beeson Decl.), ¶¶ 63-76, attached hereto as Exh.
                                                  9
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 1    6; Declaration of Mario Martinez (“Martinez Decl.”), ¶¶ 56-67, attached hereto as Exh. 7;
 2
      Declaration of Brian S. Hastings (“Hastings Decl.”), ¶¶ 59-75, attached hereto as Exh. 8;
 3
      Declaration of Rodney S. Scott (“Scott Decl.”), ¶¶ 53-68, attached hereto as Exh. 9;
 4

 5    Declaration of Manuel Padilla, Jr. (“Padilla Decl.”), ¶¶ 24-39, attached hereto as Exh. 10;

 6    Declaration of Pete Flores Romero (“Romero Decl.”), ¶¶ 48-50, attached hereto as Exh.
 7
      11; Declaration of Robert E. Perez (“Perez Decl.”), ¶¶ 42-47, attached hereto as Exh. 12;
 8
      Declaration of William Brooks (“Brooks Decl.”), ¶¶ 58-69, attached hereto as Exh. 13;
 9
      Declaration of Michele M. James (“James Decl.”), ¶¶ 49-61, attached hereto as Exh. 14.
10

11           In addition to systems monitoring, following the Court’s August Order CBP’s
12    Management and Inspection Division (“MID”), a separate component of CBP that is not
13
      a part of either Border Patrol or OFO, was charged with implementing an inspection
14
      program to monitor CBP’s overall compliance with the Agreement. See Mildrew Decl. ¶
15

16    8. This inspection process includes the physical inspection of CBP facilities as well as

17    review of the compliance information that is being electronically recorded. Id. ¶¶ 9-13.
18
      The overall inspection process consists of three phases, and is intended to be ongoing
19
      through at least 2018. Id. ¶¶ 14-24. 2 These MID inspections already have had a positive
20
      effect in ensuring that CBP facilities are complying with the requirements of the
21

22    Agreement and the Court’s August Order. See Martinez Decl. ¶¶ 39, 69; Beeson Decl. ¶
23    84.
24
      2
       Oversight is further provided by the Office of Professional Responsibility (“OPR”)
25    within CBP. See Declaration of Carla Provost (“Provost Decl.”), ¶¶ 1, 4, attached hereto
      as Exh. 15. OPR is responsible for investigating any allegations of misconduct by CBP
26
      personnel, including allegations by detainees relating to abuse or excessive uses of force.
      Id. ¶¶ 4, 5, 16. Signs posted at CBP facilities advise detainees that they may report any
      such incidents, and provides information on how they may do so. Id. ¶ 17.
                                                  10
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 1           Detainees also are regularly provided the opportunity to meet with their consular
 2
      representatives. This provides a system through which detainees may register questions,
 3
      complaints and concerns, and the consular staff will frequently share those with CBP
 4

 5    employees who then may provide answers to detainees’ questions or solutions to any

 6    complaints or concerns. See Brooks Decl. ¶ 53; Hastings Decl. ¶ 51; Romero Decl. ¶ 44;
 7
      James Decl. ¶ 9; Perez Decl. ¶ 10; Beeson Decl. ¶ 19; Scott Decl. ¶ 52; Martinez Decl. ¶¶
 8
      11, 23-24; Padilla Decl. ¶ 93; Provost Decl. ¶ 21.
 9
                       3. CBP Facilities Comply With The Agreement And With Applicable
10
                          Standards And Policies. 3
11
                              a. CBP Provides Minors In Its Facilities With Appropriate and
12                               Adequate Access To Food.
13
             Plaintiffs allege that the food provided in CBP facilities is “inadequate” for Flores
14
      class members. Their assertion relies on the declarations of multiple individuals who
15

16    recall receiving limited meals while in custody at a small number of CBP facilities within

17    the Rio Grande Valley area of operation. Motion at 5-6.
18
             Available records show that many of these statements are inaccurate or
19
      misleading. See Plaintiffs’ Exh. 45 and Declaration of David W. Strange (“Strange
20
      Decl.”), Exh. A, attached hereto as Exh. 16 (individual claims that he was provided only
21

22    2 cookies and 1 ham sandwich during his first day in CBP custody, but Border Patrol
23    records indicate that he was provided ten meals in the just over 48 hours he was in
24
      3
        Given the two week response time for Defendants’ opposition brief, Defendants are not
25    providing declaratory evidence regarding every CBP facility throughout the United
      States. However, the declarations provided reflect a nationwide sample including
26
      declarations from CBP headquarters (Hoffman, Bristow, Vitiello, Owen, Provost,
      Mildrew), Border Patrol facilities (Padilla, Beeson, Scott, Hastings, Martinez), and OFO
      facilities including both land ports of entry and airports (James, Perez, Romero, Brooks).
                                                   11
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 1    custody); Plaintiffs’ Exh. 23 and Strange Decl. Exh. K (individual claims she was only
 2
      given frozen ham sandwiches at Ursula, but Border Patrol records show she was served
 3
      five meals at Ursula, including “hot meal” served noted four times); Plaintiffs’ Exh. 19,
 4

 5    Dec. M and Strange Decl. Exh. F (individual states that she and her three children were

 6    provided cold sandwiches and juice three times a day; Border Patrol records show the
 7
      children accepting five meals on 10/22/15); Plaintiffs’ Exh. 19, Dec. R and Strange Decl.
 8
      Exh. H (individual states she and her two sons were not given a meal when they arrived
 9
      at the Border Patrol station, however Border Patrol records show them being
10

11    apprehended at 9:52 pm and accepting a meal at 12:20am; she also states that, for the
12    entire day on 11/1/15, they ate only two ham sandwiches, and the children had juice,
13
      however Border Patrol records show that they accepted three meals, at 5:47 am, 12:27
14
      pm, and 6:10 pm, and two more meals at 12:52 am and 2:17 am).
15

16           CBP facilities nationwide ensure that juveniles are provided meals at regularly

17    scheduled meal times, with at least two of those meals being hot meals, along with
18
      regular access to snacks, milk, and juice. Beeson Decl. ¶¶ 27-32; Martinez Decl. ¶¶ 21,
19
      25-28; Hastings Decl. ¶¶ 21-25; Scott Decl. ¶¶ 20-24; Padilla Decl. ¶¶ 45-54; Romero
20
      Decl. ¶¶ 19-21; Perez Decl. ¶¶ 22, 30; Brooks Decl. ¶¶ 21-25; James Decl. ¶¶ 22-24;
21

22    Mildrew Decl. ¶ 19 (noting that MID inspections found hot meals, snacks, milk and juice
23    available for juveniles at all locations that were inspected). This regular provision of
24
      meals and snacks provides appropriate and adequate food to juveniles at CBP facilities. 4
25

26    4
       Notably, in a class action currently pending in the District of Arizona concerning the
      conditions in Tucson Sector Border Patrol stations, Doe, et al. v. Johnson, et al. Case No.
      CV-15-0250 (D. Ariz.), experts reviewed the provision of meals to detainees at those
                                                   12
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 1                            b. Minors in CBP Facilities Have Access To Potable Water At
 2
                                 All Times.

 3           In support of their allegation that CBP is failing to comply with the Agreement’s
 4
      requirement to provide access to drinking water, Plaintiffs submit declaratory evidence
 5
      that they did not drink the water at a limited number of CBP facilities in Texas because it
 6
      was “dirty” or tasted strongly of chlorine. Motion at 6-7. Some Plaintiffs also allege that
 7

 8    they could not drink water because they did not have access to cups. Id. Again, available

 9    CBP records show that some of the declarations on which Plaintiffs rely are inaccurate or
10
      misleading. See Plaintiffs’ Exh. 19, Dec. H and Strange Decl. Exh. E (individual states
11
      she and her son only had access to tap water, but Border Patrol amenity reports show that
12

13
      her son had access to bottled or jug water); Plaintiffs’ Exh. 19, Dec. R and Strange Decl.

14    Exh. H (individual alleges she and her two sons drank water from a sink with their hands;
15
      amenity reports from both children show that they had access to bottled or jug water).
16
             CBP facilities provide all detainees with access to drinking water at all times. In
17
      Border Patrol stations in the Rio Grande Valley, access to water is provided by water
18

19    fountain fixtures in the hold rooms. See Padilla Decl. ¶ 55; see also Martinez Decl. ¶ 29

20    (same setup); Beeson Decl. ¶ 33 (same setup); Scott Decl. ¶ 25 (same setup); Romero
21
      Decl. ¶ 22 (same setup); Brooks Decl. ¶ 26 (same setup); Hastings Decl ¶ 26 (same
22

23

24    stations – which is consistent with the provision of meals at other CBP facilities – and
      concluded that the meals provided are nutritionally safe and adequate for individuals who
25    are held in short-term detention in Border Patrol stations, and that detainees were not
      being deprived of access to food. See Declaration of Diane Skipworth (“Skipworth
26
      Decl.”), ¶¶ 122-25, attached hereto as Exh. 17; Declaration of Richard Bryce (“Bryce
      Decl.”), ¶¶ 61-72, attached hereto as Exh. 18; Declaration of Philip Harber (“Harber
      Decl.”), ¶ 59, attached hereto as Exh. 19.
                                                   13
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 1    setup). 5 Water may also be provided through the use of plastic water coolers with
 2
      disposable cups, which are regularly filled and kept clean 6 by the cleaning staff. Padilla
 3
      Decl. ¶ 55; Martinez Decl. ¶ 29; Beeson Decl. ¶ 33; Scott Decl. ¶ 25; Brooks Decl. ¶ 26.
 4

 5    The water available to detainees is local water, and is the same water available to agents

 6    at the station. See Padilla Decl. ¶ 55; Scott Decl. ¶ 25 (water coolers filled from city
 7
      water supply); Beeson Decl. ¶ 33 (water coolers filled from tap water processed by local
 8
      municipality). Some facilities may also provide bottled water or other water sources as
 9
      appropriate. See Perez Decl. ¶ 22 (water available from sink and kept in refrigerator);
10

11    Romero Decl. ¶ 22 (bottled water provided for children); Brooks Decl. ¶ 26 (bottled
12    water available); Hastings Decl ¶ 26 (bottled water provided); Scott Decl. ¶ 24 (bottled
13
      water available); Beeson Decl. ¶ 33 (one gallon plastic water jugs provided to individuals
14
      upon apprehension in the desert and sometimes retained when brought to CBP facilities).
15

16                             c. CBP Facilities Are Kept In A Safe And Sanitary Condition
                                  And Detainees Have Access To Hygiene Products.
17
             CBP keeps its facilities in a safe and sanitary condition. The majority of facilities
18

19    have cleaning contracts that provide for the regular cleaning of all hold rooms where

20    detainees are kept. Padilla Decl. ¶ 60; James Decl. ¶ 32; Romero Decl. ¶ 31; Brooks Decl.
21
      ¶ 33; Perez Decl. ¶ 31; Martinez Decl. ¶¶ 35-36; Hastings Decl ¶¶ 31-32; Scott Decl. ¶¶
22
      31-33; Beeson Decl. ¶¶ 42-44. These cleaning contracts also provide for the restocking of
23
      5
24      The Governments’ experts in Doe noted that the stainless steel drinking fountains
      provided in Tucson Sector Border Patrol hold rooms – which are similar to those found in
25    other CBP facilities – are of the same type that are frequently found in holding cells, jails,
      and prisons, and provide access to sanitary and potable water. See Skipworth Decl. ¶¶
26
      127-28, 131; Bryce Decl. ¶¶ 74-75.
      6
        Bleach is not used to clean these water coolers in the Rio Grande Valley. See Padilla
      Decl. ¶ 56.
                                                    14
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 1    bathroom supplies such as toilet paper and soap, and the emptying of any trash bins that
 2
      are kept in the hold rooms. Padilla Decl. ¶ 60-61; Romero Decl. ¶ 31; Perez Decl. ¶ 31;
 3
      Martinez Decl. ¶ 36; Hastings Decl. ¶¶ 32, 40; Scott Decl. ¶¶ 32, 36; Beeson Decl. ¶¶ 43-
 4

 5    44, 47; see also Skipworth Decl. ¶ 45 (assessing statements of work for Tucson Sector

 6    Border Patrol cleaning contracts and concluding that they “are consistent with the current
 7
      TEDS standard and other industry standards, and contain cleaning provisions sufficient to
 8
      ensure a hygienic and safe environment for detainees”).
 9
             Sinks and soap or hand sanitizer in the hold rooms provide detainees the
10

11    opportunity to wash their hands after using the toilet. Padilla Decl. ¶¶ 85, 86; Romero
12    Decl. ¶ 29; Brooks Decl. ¶ 36; Perez Decl. ¶ 22; Hastings Decl ¶ 40; Scott Decl. ¶ 36;
13
      Beeson Decl. ¶¶ 42, 47. Some CBP facilities provide paper towels, while others use an air
14
      dry method for hand drying. Padilla Decl. ¶¶ 85, 86; Hastings Decl ¶ 41; Scott Decl. ¶ 37;
15

16    Beeson Decl. ¶¶ 47, 48. Using an “air-drying method” for handwashing has been

17    recognized by the Centers for Disease Control as an effective hand drying method, and
18
      may be necessary because detainees sometimes throw the paper towels on the floor or put
19
      them into the toilet. See Skipworth Decl. ¶¶ 83-84.
20
             Regular checks of all hold rooms where juveniles are held are conducted to ensure
21

22    that water is available, the toilets and sinks are in working order, and the room is sanitary.
23    Padilla Decl. ¶ 28, 34; James Decl. ¶ 57; Romero Decl. ¶ 28; Brooks Decl. ¶ 37; Perez
24
      Decl. ¶ 26; Martinez Decl. ¶ 62; Hastings Decl ¶ 69; Scott Decl. ¶ 27, 62; Beeson Decl.
25
      ¶¶ 35, 66, 71. The results of these checks are recorded in e3DM or SIGMA, and any
26

      problems are reported to a supervisor and resolved as quickly as possible. Padilla Decl.


                                                   15
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 1    ¶¶ 29-32; James Decl. ¶ 57; Romero Decl. ¶ 32; Perez Decl. ¶ 45; Martinez Decl. ¶¶ 57-
 2
      60; Hastings Decl ¶¶ 65-66, 69; Scott Decl. ¶¶ 58-60, 62; Beeson Decl. ¶ 36 (noting
 3
      report of inoperable toilet in unaccompanied juvenile cell; other cells were used to hold
 4

 5    juveniles until the problem could be fixed), 66-69.

 6           Not all CBP facilities have showers or access to showers. Padilla Decl. ¶ 68;
 7
      Brooks Decl. ¶ 34; Martinez Decl. ¶ 37; Scott Decl. ¶ 35; Beeson Decl. ¶ 46. In the Rio
 8
      Grande Valley, the vast majority of juveniles are transferred to the CPC-Ursula facility as
 9
      soon as possible after their processing is complete, and at that facility they are provided
10

11    an opportunity to shower, have their clothes laundered, and receive a change of clothes.
12    Padilla Decl. ¶¶ 68-74; see also Romero Decl. ¶ 24 (noting the availability of changes of
13
      clothes for juveniles in the San Diego area facilities that are distributed as needed).
14
      Juveniles at CPC-Ursula are also provided a towel, toothbrush, toothpaste, mouthwash,
15

16    soap, and shampoo. Padilla Decl. ¶ 75; see also Romero Decl. ¶ 25 (similar items

17    provided in San Diego area facilities). In other areas, reasonable efforts are made to
18
      provide showers to juveniles who must remain in CBP custody longer than 48 hours.
19
      James Decl. ¶ 33; Romero Decl. ¶ 26; Brooks Decl. ¶¶ 34-35; Hastings Decl. ¶ 39; Scott
20
      Decl. ¶ 35. Thus, to the extent Plaintiffs’ evidence suggests that showers are not made
21

22    available to juveniles in CBP custody, that evidence is inaccurate or misleading. See
23    Plaintiffs’ Exh. 19, Dec. M and Strange Decl. Exh. F (individual states her three children
24
      were not able to bathe while in CBP custody, but Border Patrol records show all three
25
      children receiving a shower on 10/22/15 at 6:36 pm at CPC Ursula); Plaintiffs’ Exh. 37
26

      and Strange Decl., Exh. B (individual states that she was not provided a shower, but


                                                    16
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 1    Border Patrol records indicate that she was provided a shower at 7:13 am on February 2,
 2
      2016).
 3
               CBP facilities also stock other personal and hygiene products which are provided
 4

 5    to detainees upon request, including diapers and wipes, feminine hygiene products,

 6    toothbrushes, toothpaste, and soap. Padilla Decl. ¶¶ 73, 75, 77-78; James Decl. ¶ 26;
 7
      Romero Decl. ¶¶ 24-26; Brooks Decl. ¶ 36; Perez Decl. ¶ 22; Scott Decl. ¶ 24; Skipworth
 8
      Decl. ¶¶ 78-91 (describing items provided to detainees by Tucson Sector Border Patrol,
 9
      and specifically noting that Border Patrol “takes special care regarding families”). 7
10

11             Plaintiffs complain that there is a lack of privacy in CBP facilities, particularly
12    with regard to the toilets. Motion at 7-9. Some lack of privacy is to be expected given the
13
      nature of CBP hold rooms. Padilla Decl. ¶ 84; James Decl. ¶ 25; Martinez Decl. ¶ 30;
14
      Hastings Decl ¶ 27; Scott Decl. ¶ 26; Beeson Decl. ¶ 34. The screen walls used by the
15

16    toilet area in the hold rooms allow for an environment where the individual using the

17    toilet has some privacy while using the facilities, but can still be monitored and protected
18
      7
19      Plaintiffs raise no specific claims regarding the availability of medical care in CBP
      facilities. However they generally allege that the conditions at these facilities are
20    unhealthy, and create a risk to the health of minors. See Motion at 4-11. Medical care for
21    any emergent issue is readily available to all individuals held at a CBP facility both from
      trained CBP employees, and off-site local medical professionals. Padilla Decl. ¶¶ 80-83;
22    James Decl. ¶¶ 36-37; Romero Decl. ¶¶ 34-40; Brooks Decl. ¶¶ 41-43; Perez Decl. ¶¶ 27-
      28; Martinez Decl. ¶¶ 42-44; Hastings Decl ¶¶ 42-43; Scott Decl. ¶¶ 42-44; Beeson Decl.
23
      ¶¶ 8, 14, 54-56. In Doe, the Government’s medical expert assessed the system by which
24    the Tucson Sector Border Patrol facilities provided access to medical care – the same
      system used at the majority of CBP facilities nationwide – and concluded that the system
25    in place “provides detainees medical care and treatment, including emergency treatment
      and prescription medication, when needed.” Harber Decl. ¶¶ 22-23, 26-37, 50-56. He
26
      further concluded that the conditions at the Tucson Sector Border patrol facilities, which
      are comparable to those at other CBP facilities nationwide, did not “indicate . . . any
      serious medical or health risk to detainees.” Id. ¶¶ 24, 57-73.
                                                     17
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 1    for the safety of all detainees and CBP employees. Padilla Decl. ¶ 84; James Decl. ¶ 25;
 2
      Romero Decl. ¶ 27; Martinez Decl. ¶ 30, Exhibit C; Hastings Decl ¶ 27; Scott Decl. ¶ 26,
 3
      Exhibit B; Beeson Decl. ¶ 34. Private toilets are available for detainees in some facilities,
 4

 5    including CPC-Ursula, where the majority of juveniles apprehended in the Rio Grande

 6    Valley are housed. Padilla Decl. ¶ 85; Brooks Decl. ¶ 28; Perez Decl. ¶¶ 23, 24 . Cameras
 7
      in CBP facilities do not provide sight lines to the toilets, or they blur out any view of the
 8
      toilet areas. Padilla Decl. ¶ 86; James Decl. ¶ 26; Romero Decl. ¶ 28; Martinez Decl. ¶
 9
      31; Hastings Decl ¶ 28; Scott Decl. ¶ 27; Beeson Decl. ¶ 35.
10

11                             d. The Temperature At CBP Facilities Is Carefully Regulated
                                  And Monitored To Ensure That It Is Kept At Safe And
12                                Comfortable Level.
13
             Plaintiffs allege that they were forced to endure “extremely cold” temperatures
14
      while in custody at CBP facilities. CBP records indicate, however, that the temperatures
15

16    at the time some of these allegations were made were being maintained at comfortable

17    and appropriate levels. See Plaintiffs’ Exh. 44 and Hoffman Decl Exh. A (individual
18
      indicates that it was “very cold,” but the temperature while she was in custody was
19
      recorded as being between 69.4-72.2 degrees; also claims it was too cold to sleep, but
20
      OFO records note “sleeping” at various times on January 24, 25, and 26, 2016);
21

22    Plaintiffs’ Exh. 19, Dec. M and Strange Decl. Exh. F (individual states that it was very
23    cold, but Border Patrol recorded the temperature at four different welfare checks on
24
      10/23/15 as 77, 73, 72, and 73 degrees, and the amenity log also shows compliant
25
      temperatures); Plaintiffs’ Exh. 26 and Strange Decl. Exh. M (individual claims it was
26

      “extremely cold” and neither she nor her daughter could sleep, but Border Patrol records


                                                    18
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 1    show the temperature was between 69-71); Plaintiffs’ Exh. 27 and Strange Decl. Exh. M
 2
      (individual claims McAllen Station was “freezing cold,” but Amenity Check shows
 3
      temperature was within acceptable range); Plaintiffs’ Exh. 28 and Strange Decl. Exh. O
 4

 5    (individual claims McAllen Station was “freezing,” but Amenity Check shows

 6    temperature was within acceptable range).
 7
             The temperature at CBP facilities is regulated, and is maintained at a level that is
 8
      safe and comfortable for both detainees and officers. Padilla Decl. ¶ 62; James Decl. ¶
 9
      28; Brooks Decl. ¶ 31; Martinez Decl. ¶ 33; Hastings Decl ¶ 36; Scott Decl. ¶ 28; Beeson
10

11    Decl. ¶ 37; see also Skipworth Decl. ¶ 133 (“Temperatures in detention facilities should
12    normally be kept within a range of 68.5 to 80.5 degrees Fahrenheit for comfort,
13
      depending on the season.”); Bryce Decl. ¶ 82 (“According to agents I interviewed,
14
      Tucson Sector Border Patrol hold room temperatures are maintained at 68 to 80 degree
15

16    Fahrenheit, which is standard in detention centers.”). In response to the Court’s August

17    Order, CBP facilities purchased thermometers and regularly monitor the temperatures in
18
      all hold rooms in which juveniles are being detained, and agents record any issues with
19
      those temperatures being outside the acceptable range. Padilla Decl. ¶ 66; James Decl. ¶¶
20
      29, 58; Romero Decl. ¶ 30; Brooks Decl. ¶ 31; Perez Decl. ¶ 23; Martinez Decl. ¶ 63;
21

22    Hastings Decl ¶ 70; Scott Decl. ¶ 63; Beeson Decl. ¶ 72. If the temperature in any hold
23    room in which a juvenile is being held is found to be outside the acceptable range of 66-
24
      80 degrees Fahrenheit, it must be recorded in SIGMA or e3DM, immediate steps must be
25
      taken to bring the temperature to an acceptable level, and alternate accommodations may
26

      be made for holding the affected individuals until the situation is remedied. Padilla Decl.


                                                   19
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 1    ¶ 65-66; James Decl. ¶¶ 30-31; Brooks Decl. ¶¶ 31-32; Perez Decl. ¶ 42; Martinez Decl.
 2
      ¶¶ 34, 63; Hastings Decl ¶¶ 37, 70; Scott Decl. ¶ 30, 63; Beeson Decl. ¶¶ 39-40, 72.
 3
                               e. While CBP Facilities Are Designed For Short-Term Custody,
 4
                                  And Are Not Designed For Sleeping, Juveniles Generally Are
 5                                Provided With Some Form Of Bedding And Are Processed As
                                  Quickly As Possible.
 6
             CBP facilities in which detention occurs are 24/7 facilities designed for short-term
 7

 8    custody during immigration processing. Padilla Decl. ¶ 78; Romero Decl. ¶ 43; Hastings

 9    Decl ¶ 50; Scott Decl. ¶ 9. CBP makes every effort to process juveniles as quickly as
10
      possible and either release them, or transfer them to more long-term facilities. Padilla
11
      Decl. ¶ 41, 96; James Decl. ¶ 17 (noting detainees are generally held for less than 8
12

13
      hours); Romero Decl. ¶ 11 (noting that juveniles receive priority attention); Romero Decl.

14    ¶ 43; Perez Decl. ¶ 15 (noting family units generally are not held longer than 24 hours);
15
      Martinez Decl. ¶¶ 51, 53; Hastings Decl ¶¶ 50, 54; Scott Decl. ¶ 6 (noting that
16
      unaccompanied minors spend an average of 42 hours in custody, while family groups
17
      spend an average of 46 hours in custody), 9; Beeson Decl. ¶ 13 (noting that juveniles
18

19    receive priority processing), 60, 62. Because individuals are coming and going in the

20    majority of CBP facilities at all hours of the day and night, the lights at CBP facilities
21
      remain on at all times for the safety and security of both detainees and CBP employees.
22
      Padilla Decl. ¶ 78; James Decl. ¶ 34; Romero Decl. ¶ 33; Brooks Decl. ¶ 38; Perez Decl.
23

24
      ¶ 25; Martinez Decl. ¶ 40; Hastings Decl ¶ 30; Scott Decl. ¶ 39; Beeson Decl. ¶¶ 9, 50.

25           Unaccompanied juveniles generally are kept in hold rooms, or in a specific area of
26
      the particular facility, divided by age and gender, and separated from unrelated adults.

      Padilla Decl. ¶ 18; James Decl. ¶ 21 (noting juveniles are not always placed in hold
                                                    20
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 1    rooms, but are placed in the least restrictive setting possible in that facility); Romero
 2
      Decl. ¶¶ 13-14; Brooks Decl. ¶ 18; Perez Decl. ¶¶ 12, 14; Martinez Decl. ¶¶ 15, 16
 3
      (noting that if a hold room is not available to keep an unaccompanied juvenile separated
 4

 5    from unrelated adults, the juvenile will be placed in another area of the station where he

 6    or she can be monitored by agents); Hastings Decl. ¶¶ 16-17; Scott Decl. ¶ 12; Beeson
 7
      Decl. ¶ 21. Families are kept together to the greatest extent possible in order to maintain
 8
      family unity, and may be kept in hold rooms or other areas of the facility with other
 9
      family units. Padilla Decl. ¶ 18; James Decl. ¶ 16; Romero Decl. ¶ 16 (noting that the San
10

11    Ysidro facility has designated additional space for families if needed); Brooks Decl. ¶ 18;
12    Martinez Decl. ¶ 16; Hastings Decl. ¶ 17; Scott Decl. ¶ 13; Beeson Decl. ¶ 21. 8 The
13
      numbers of individuals in a hold room will fluctuate based on the numbers of
14
      apprehensions in any given day, but when overcrowding occurs, agents will take all
15

16    possible steps to alleviate it, including moving individuals between hold rooms and even

17    between different stations in a given operating area. Padilla Decl. ¶ 21; James Decl.
18
      (noting no problem with overcrowding); Romero Decl. ¶ 17 (noting the availability of
19
      other facilities used to house single adults to ensure adequate space for family units and
20

21    8
        Plaintiffs raise no specific legal claim that minors are not provided access to family
22    members. To the extent they suggest this is the case through their declarations, however,
      they are mistaken. CBP facilities make every effort to maintain family unity. Padilla
23
      Decl. ¶ 37; James Decl. ¶ 60; Brooks Decl. ¶ 66; Perez Decl. ¶ 46; Martinez Decl. ¶ 65;
24    Hastings Decl ¶ 72; Scott Decl. ¶ 65; Beeson Decl. ¶ 74. If a family group is separated,
      that separation and the reason for the separation are documented. Padilla Decl. ¶ 37;
25    James Decl. ¶ 60; Brooks Decl. ¶ 66; Perez Decl. ¶ 46; Martinez Decl. ¶¶ 65; Hastings
      Decl ¶ 72; Scott Decl. ¶ 66; Beeson Decl. ¶ 74. If separation occurs contact is facilitated,
26
      and if it is not the reason for the lack of contact also is documented. Padilla Decl. ¶¶ 37-
      28; James Decl. ¶¶ 60-61; Brooks Decl. ¶ 66-67; Perez Decl. ¶ 46; Martinez Decl. ¶¶ 65-
      66; Hastings Decl ¶¶ 72-73; Scott Decl. ¶ 66-67; Beeson Decl. ¶¶ 74-75.
                                                    21
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 1    unaccompanied children); Brooks Decl. ¶ 19 (noting agents remain mindful of capacity
 2
      issues to ensure sufficient space); Martinez Decl. ¶ 19; Hastings Decl ¶ 20 (noting no
 3
      issue with overcrowding); Scott Decl. ¶ 6 (noting a relatively low number of
 4

 5    unaccompanied juveniles and family groups in custody at any one time), 16; see also

 6    Plaintiffs’ Exh. 22, Padilla Decl. ¶ 17 and Strange Decl. Exh. J (individual states that
 7
      there were 15-20 people in his cell; no hold cell in McAllen Station has a capacity of less
 8
      than 22 adult individuals).
 9
             In the majority of CBP facilities, Mylar or other disposable blankets are provided
10

11    to detainees to be used for bedding, and for additional warmth if needed. Padilla Decl. ¶
12    88; James Decl. ¶ 35; Brooks Decl. ¶ 39; Perez Decl. ¶ 29; Martinez Decl. ¶ 41; Hastings
13
      Decl ¶ 41; Scott Decl. ¶¶ 28, 40; Beeson Decl. ¶ 51. Mylar blankets limit the spread of
14
      disease, and eliminate the problems that many facilities previously experienced of being
15

16    unable to keep up with the laundry required to provide cloth blankets. Brooks Decl. ¶ 39;

17    Perez Decl. ¶ 29; Beeson Decl. ¶ 51; Scott Decl ¶ 40; Martinez Decl. ¶ 41; Padilla Decl. ¶
18
      88. 9 Many facilities also may provide mattresses or mattress pads to juveniles where
19
      space and supplies are available and it is operationally feasible. Padilla Decl. ¶¶ 88, 89;
20
      Romero Decl. ¶ 25 (folding mats, foam sleeping mats, and blankets provided); Brooks
21

22    Decl. ¶ 40 (“EZ Bunk,” mats, or cots may be provided); Scott Decl. ¶ 41 (bedroll
23    provided); Beeson Decl. ¶ 53 (mattress pads provided).
24

25

26    9
        Where feasible, some facilities do provide access to cloth blankets that can be regularly
      laundered. Romero Decl. ¶ 25; Perez Decl. ¶ 23 (noting the availability of cloth blankets
      and pillows in family rooms).
                                                   22
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 1                              f. All Minors In CBP Custody Are Given An I-770 Notice Of
 2
                                   Rights.

 3           CBP has not historically provided an I-770 to accompanied juveniles, but current
 4
      CBP policy requires that all CBP officers and agents provide a Form I-770 to all
 5
      juveniles, whether accompanied or unaccompanied. Bristow Decl. ¶ 19; Hoffman Decl. ¶
 6
      18. This policy is implemented by offices and agents at CBP stations and ports-of-entry
 7

 8    around the country. Padilla Decl. ¶ 91; James Decl. ¶ 41; Romero Decl. ¶¶ 41-42; Brooks

 9    Decl. ¶ 50; Perez Decl. ¶ 34; Martinez Decl. ¶ 48; Hastings Decl ¶ 47. CBP officers and
10
      agents also provide a list of free legal services to juveniles CBP processes for removal.
11
      Hastings Decl ¶ 48; Scott Decl. ¶ 50; Beeson Decl. ¶ 57; Brooks Decl. ¶ 51; James Decl.
12

13
      ¶ 42; Perez Decl. ¶ 45; Martinez Decl. ¶ 49; Padilla Decl. ¶ 92.

14               B.     ICE Family Residential Centers Are Operating In a Manner That
                        Is Fully Consistent With The Agreement And With This Court’s
15
                        July and August Orders.
16
             In the August Order, the district court indicated that the Government’s target of a
17
      20-day average detention time “may fall within the parameters of Paragraph 12A of the
18

19    Agreement . . . .” August Order at 10. The Court also explained that in periods of influx –

20    as defined in the Agreement – family units may be housed at residential centers for the
21
      limited period necessary to conduct asylum and other protection-related screenings, so
22
      long as the length of detention is “as fast as Defendants, in good faith and in the exercise
23

24
      of due diligence, can possibly go in screening family members for reasonable or credible

25    fear . . . especially if the brief extension of time will permit the DHS to keep the family
26
      unit together.” August Order at 10. Notably, in the July Order the Court also recognized

      that in a “situation where the mother . . . has been deemed a flight or safety risk . . . ,
                                                     23
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 1    Defendants would be justified in detaining both mother and child in that case . . . .” July
 2
      Order at 9 n.5.
 3
             Karnes County Residential Center (“Karnes”), South Texas Family Residential
 4

 5    Center (“Dilley”), and Berks County Family Residential Center (“Berks”), are being

 6    operated in a manner that is fully consistent with the July and August Orders of this
 7
      Court. As the Government has previously described to this Court (ECF No. 184 at 11-
 8
      18), ICE family residential centers operate primarily as short-term intake and processing
 9
      facilities. See Declaration of Juanita Hester (“Hester Decl.”), ¶¶ 3-4, attached hereto as
10

11    Exh. 20; Declaration of Valentin de la Garza (“de la Garza Decl.”), ¶¶ 3-4, attached
12    hereto as Exh. 21. Since 2015, ICE has implemented several improvements at its family
13
      residential centers including increased staff, additional residential resources, improved
14
      legal access, and increased oversight of operations. Declaration of John Gurule (“Gurule
15

16    Decl.”), ¶¶ 5-12, attached hereto as Exh. 22. 10 ICE also continues to evaluate and

17
      10
18
        Plaintiffs do not specifically raise any claims challenging the conditions at ICE family
      residential centers, but they submit multiple declarations that raise allegations regarding
19    those conditions. To the extent the Court determines that these allegations should be
      considered in evaluating Plaintiffs’ claims, Defendants submit significant evidence
20    challenging the reliability of these allegations, and disputing that the conditions in these
21    facilities are as Plaintiffs describe. See Hester Decl. ¶¶ 5-8; de la Garza Decl. ¶¶ 5-8; Reid
      Decl. ¶¶ 3-5, 9-28; Gurule Decl. ¶¶ 6-12, 17; Declaration of Philip T. Farabaugh, Exh.
22    23; Declaration of Gustavo I. Cadavid, Exh. 24; Declaration of Todd M. Tovarek, Exh.
      25 (Exhs. 23-25 are not attached to this brief in order to protect to the greatest extent
23
      possible the medical privacy of the individuals discussed in those declarations; however,
24    Defendants are willing and able to provide them to the Court upon request if necessary to
      assist in adjudication of any of Plaintiffs’ claims); Dilley Video, available at:
25    https://www.dvidshub.net/video/402665/ice-media-b-roll-south-texas-family-residential-
      center (South Texas FRC Apr. 29, 2015) (last visited May 31, 2016); Dilley Video,
26
      available at: https://www.dvidshub.net/video/381829/south-texas-family-residential-
      center (last visited May 31, 2016); Karnes Video, available at:
      https://www.dvidshub.net/video/400168/karnes-county-residential-center (Karnes County
                                                   24
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 1    improve its processes to ensure that families in its custody are evaluated expeditiously
 2
      and, if eligible, released on appropriate conditions. Id. ¶ 15.
 3
             For the vast majority of individuals who move through these facilities, the length
 4

 5    of time they remain in detention is limited to the amount of time it takes to screen them

 6    for credible or reasonable fear. Hester Decl. ¶ 3; de la Garza Decl. ¶ 3. The Secretary of
 7
      Homeland Security’s June 2015 policy announcement directed U.S. Citizenship and
 8
      Immigration Services (“USCIS”) to “conduct credible fear and reasonable fear interviews
 9
      within a reasonable timeframe.” DHS Press Release, ECF No. 164-1, at 1. For those able
10

11    to establish credible or reasonable fear, the goal is that “the detention of families will be
12    short-term in most cases.” Id.
13
             Under a class action settlement agreement in the U.S. District Court for the
14
      Northern District of California, USCIS has agreed to achieve a national average of 10
15

16    business days for completing reasonable fear determinations for detained individuals,

17    with no single reasonable fear determination taking more than 20 business days (not
18
      including tolling or delays due to exceptional circumstances). Alfaro Garcia, et al. v.
19
      Johnson, et al., No. 14-01775 (N.D. Cal.). As a result, USCIS has implemented changes
20
      to its reasonable fear screening procedures which continue to speed up its review of such
21

22    claims. See Declaration of John L. Lafferty (“Lafferty Decl.”), ¶¶ 8-12, attached hereto as
23    Exh. 26. USCIS also took specific steps at ICE family residential centers to increase its
24
      resources and streamline its procedures, thereby further reducing processing times for
25

26
      Residential Center Apr. 17, 2015) (last visited May 31, 2016); Berks Video, available at:
      https://www.dvidshub.net/video/408791/berks-family-residential-center-may-2015
      (Berks Family Residential Center May 2015) (last visited May 31, 2016).
                                                    25
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 1    both credible fear and reasonable fear cases. Id. ¶¶ 5-7. Thus, for credible fear and
 2
      reasonable fear cases screened in ICE family residential centers, USCIS’s current
 3
      processing time is approximately 4-10 calendar days from USCIS’s receipt of a referral
 4

 5    from ICE, to service of a determination on the individual. See id. ¶ 4.

 6           For those individuals who are not found to have a credible fear or reasonable fear,
 7
      and who seek review before an immigration judge, the average processing time at family
 8
      residential centers between November 1, 2015 and May 24, 2016 was three days. See
 9
      Declaration of Brett Endres (“Endres Decl.”), ¶ 3, attached hereto as Exh. 27. Of the
10

11    1,070 cases in credible fear review proceedings, the immigration judge vacated USCIS’s
12    decision and found credible fear 587 times, and for the 114 cases involving reasonable
13
      fear review proceedings, the immigration judge vacated USCIS’s decision and found
14
      reasonable fear 78 times. Id. ¶¶ 4-5.
15

16           As a result, for the 18,706 residents initially booked into ICE family residential

17    facilities from October 23, 2015, to May 18, 2016, and subsequently released or removed
18
      as of May 16, 2016, the average length of stay was 11.8 days. Gurule Decl. ¶ 13. Of these
19
      18,706 residents, 58% were released or removed in 10 days or less, 96% in 20 days or
20
      less, and 99% in 30 days or less. Id. Of those detained as of May 16, 2016, the average
21

22    length of stay is 17.7 days. Of those detained as of May 16, 2016, 44% have been
23    detained 10 days or less; 88%, 20 days or less, and 94%, 30 days or less. Id.
24
             A small percentage of individuals do remain in ICE family residential centers for
25
      longer periods of time, but this too is consistent with the Agreement and the Court’s
26

      orders. This is because these individuals fall into one of three categories: (1) individuals


                                                   26
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 1    who are subject to mandatory detention because they have not established a credible fear,
 2
      but who have asked USCIS to reconsider their screening determination, and have sought
 3
      and received stays of removal; (2) individuals who have received a negative credible fear
 4

 5    determination, are awaiting removal, and are subject to mandatory detention; 11 or (3)

 6    individuals in family units with final orders of removal where the parent has been
 7
      determined to constitute a flight risk. See Gurule Decl. ¶ 14 and Exh. 9; see also
 8
      Declaration of Joshua G. Reid (“Reid Decl.”), ¶¶ 18, 28, attached hereto as Exh. 28.
 9
      11
10       The vast majority of aliens who have been detained at family residential facilities for
      longer than 20 days are individuals who have been determined to lack credible fear of
11    persecution or torture upon removal after being interviewed by a USCIS asylum officer,
      having that determination reviewed by a supervisory asylum officer, and having his or
12
      her claim of credible fear heard by an Immigration Judge. They are therefore subject to
13    mandatory detention pending their removal from the United States. See 8 U.S.C. §
      1225(b)(1)(B)(iii)(IV); 8 C.F.R. § 235.3(b)(2)(iii). Although execution of their expedited
14    removal orders is required by 8 U.S.C. § 1225(b)(1), these aliens filed constitutional
      challenges to the credible fear process and their expedited removal orders in federal
15
      district court starting in November 2015. See Castro v. DHS, Case No. 15-6153, 2016
16    WL 614862 at *1-2 (E.D. Pa. Feb.16, 2016). Although the Government briefed the issues
      in this case in an expedited manner, the District Court stayed these aliens’ removal for
17    three months only to then dismiss their case, finding that “Petitioners’ contentions have
18
      been rejected by almost every court to address them.” Id. This includes the Ninth Circuit
      in Pena v. Lynch, 815 F.3d 452 (9th Cir. 2015); Avendano–Ramirez v. Ashcroft, 365 F.3d
19    813, 819 (9th Cir. 2004); Li v. Eddy, 259 F.3d 1132, 1134–35 (9th Cir. 2001), opinion
      vacated as moot on reh’g, 324 F.3d 1109 (9th Cir. 2003), and the Fifth Circuit (where
20    Karnes and Dilley are located) in Diaz–Rodriguez v. Holder, No. 14-31103, 2014 WL
21    10965184 (5th Cir. Dec. 16, 2014). Again, rather than acquiescing in their removal, these
      individuals then sought and successfully obtained a stay from the Third Circuit on
22    February 26, 2016 in an order that did not explain the basis for granting the stay as
      required by Nken v. Holder, 556 U.S. 418, 425-26 (2009). See Castro, et al v. DHS, Case
23
      No. 16-1339 at Doc. No. 003112218692. This case was argued on May 19, 2016 and a
24    decision is expected shortly. The Government submits that this order should – and will
      most likely – accord with the decision of every circuit to consider this matter, including
25    the Ninth and Fifth Circuits. Detention of these individuals pending the decision by the
      Third Circuit does not raise a systemic problem of non-compliance with this Court’s
26
      Order, but rather a discrete instance where a group of aliens whose removal should
      already have been executed have been successful in postponing their removal by making
      arguments that have been rejected by every Circuit Court that has considered them.
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 1       III.           ARGUMENT
 2
                   A.     The Court Should Not Allow Plaintiffs To Re-Litigate The Issue of
 3                        CBP’s Compliance With The Agreement, And If It Does, Should Do
                          So Only After Discovery And An Evidentiary Hearing.
 4

 5              In 2015 this Court considered Plaintiffs’ allegations that CBP facilities were not in

 6    compliance with the Agreement and concluded that even to the extent that CBP facilities
 7
      were in breach of the Agreement, the appropriate remedy was to require CBP to “monitor
 8
      compliance with their acknowledged standards and procedures” for complying with the
 9
      Agreement. August Order at 14-15. As explained extensively above, CBP is doing so.
10

11    Therefore, CBP has complied fully with the Court’s August Order.
12              Nonetheless, Plaintiffs’ latest Motion raises the same allegations as were
13
      previously litigated and resolved by the Court’s August Order, only this time Plaintiffs’
14
      contend that oversight by a special monitor is required. However, Plaintiffs have
15

16    provided no good reason why the Court should re-litigate this issue or order any

17    additional remedy against CBP.
18
                Plaintiffs base their Motion on declaratory evidence that consists largely of
19
      inadmissible hearsay allegations relating to only a small number of CBP facilities.
20
      Relying on that limited evidence, Plaintiffs ask the Court to conclude that “[t]he evidence
21

22    overwhelmingly shows Defendants’ CBP facilities are neither safe nor sanitary.” Motion
23    at 19. But this is far from true. Plaintiffs’ evidence is unreliable, and in many instances is
24
      countered by CBP’s records regarding the declarant. Plaintiffs have not shown that
25
      appointment of a monitor would uncover any additional information than what is already
26

      being maintained by CBP, and it would therefore simply be an unnecessary use of limited


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 1    taxpayer resources. Therefore the Court should not revisit this already settled issue, and
 2
      should deny Plaintiffs’ Motion with regard to CBP facilities.
 3
             Moreover, even if the Court does decide that further litigation on this issue is
 4

 5    necessary, the evidence still does not support any immediate finding in Plaintiffs’ favor.

 6    Plaintiffs certainly have provided no basis for the Court to find a breach in any facility
 7
      which is not clearly and specifically identified in any of their supporting declarations.
 8
      And for those facilities for which Plaintiffs did provide evidence of a possible breach,
 9
      even in only the short time provided between the time Plaintiffs shared that evidence with
10

11    CBP and the filing of this response, CBP was able to provide evidence that in several
12    instances Plaintiffs’ evidence is unreliable or misleading. See Defendants’ Objections,
13
      attached hereto as Exh. 29.
14
             At the same time, as discussed above, CBP has provided significant evidence that
15

16    CBP and its facilities as a whole – including both those referenced by Plaintiffs’ evidence

17    and those that are not – comply with the Agreement and with the Court’s requirement in
18
      its August Order that CBP monitor that compliance. Thus, if the issue is to be re-litigated
19
      based solely on the evidence submitted by the parties in this briefing, there is good reason
20
      to find that Plaintiffs simply have not established any breach of the Agreement on the
21

22    part of CBP.
23           Finally, the incomplete and unreliable nature of the evidence submitted by
24
      Plaintiffs, and the substantial rebuttal evidence submitted by CBP, gives good reason for
25
      the Court, at the least, to decline to rule on Plaintiffs’ motion without first holding an
26

      evidentiary hearing to further examine the evidence submitted by both parties. See Callie


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 1    v. Near, 829 F.2d 888, 890 (9th Cir. 1987) (“[W]here material facts concerning the
 2
      existence or terms of an agreement to settle are in dispute, the parties must be allowed an
 3
      evidentiary hearing.”); see also In re City Equities Anaheim, Ltd., 22 F.3d 954, 958-59
 4

 5    (9th Cir. 1994) (holding that “a court has no discretion to enforce a settlement where

 6    material facts are in dispute; an evidentiary hearing must be held to resolve such
 7
      issues.”). 12
 8
              Moreover, before any evidentiary hearing is held each party should be permitted to
 9
      explore the evidence presented by the opposing side. Defendants were not provided any
10

11    opportunity to review the evidence submitted with Plaintiffs’ Motion until after the
12    Motion was filed with the Court. After Plaintiffs served a meet and confer letter on
13
      Defendants on February 20, 2016 (see Plaintiffs’ Exhibit 1-C, ECF No. 201-1) that
14
      contained nothing more than a recitation of the provisions of the Agreement Plaintiffs
15

16    alleged were being breached, Defendants made repeated efforts to persuade Plaintiffs to

17    share with Defendants the factual allegations on which they intended to rely in this
18
      Motion so that Defendants could seek to provide a response and thereby avoid the need
19
      12
         In the August Order, the Court denied Defendants’ request for an evidentiary hearing
20    on the issue of conditions in CBP facilities because Defendants did not ask for such a
21    hearing until after the Court had ruled on Plaintiffs’ enforcement motion, finding that
      Defendants had not submitted responsive evidence to Plaintiffs’ evidence regarding the
22    conditions at CBP Facilities, and concluding that “it [was] too late for a second bite at the
      apple.” August Order at 13. This time, it is Plaintiffs who are seeking a second bite at the
23
      apple, by asking the Court to re-litigate these same claims regarding CBP conditions that
24    were resolved in the Court’s August Order. Moreover, this time around Defendants are
      submitting to the Court exactly what the Court found was lacking the last time around:
25    significant evidence that CBP facilities comply with the Agreement. Therefore, if the
      Court determines that this issue should be re-litigated, then Defendants contend that
26
      resolution can only be had after a full and fair exploration of all of the evidence from
      both parties, and an evidentiary hearing before the Court that is conducted after sufficient
      time is provided to depose any proffered witnesses.
                                                   31
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 1    for litigation. See Declaration of Sarah B. Fabian, ECF No. 204-1, at ¶¶ 4 -5. However,
 2
      despite repeated requests by Defendants’ counsel, Plaintiffs’ counsel did not provide any
 3
      of these factual allegations to Defendants. Id. ¶ 6. Therefore, Defendants have had no
 4

 5    opportunity, prior to the time that the Motion was filed, to respond to those allegations, or

 6    to discuss with Plaintiffs whether any of those factual allegations could be resolved
 7
      without the need for litigation. Id.; see also Local Rule 7-3; Agreement ¶ 37. 13
 8
             Plaintiffs thus are asking this Court to find Defendants in breach before
 9
      Defendants have been provided a meaningful opportunity to review and respond to the
10

11    evidence upon which Plaintiffs ask the Court to rely. This is particularly problematic
12    where Plaintiffs’ evidence consists in large part of declarations by individuals that
13
      Defendants have shown in many cases are inconsistent with available evidence, and
14
      whose declarants Defendants have had no opportunity to investigate or examine
15
      13
16       In addition, although Plaintiffs provided unsealed versions of some of the redacted
      declarations submitted with their Motion, Plaintiffs did not provide unredacted copies of
17    several other of the declarations included with their Motion. See Plaintiffs’ Exhs. 12, 13,
18
      15, 19. Only after multiple requests from Defendants did Plaintiffs’ counsel send over a
      list of some of the names and Alien #s (“A#s”) for the redacted individuals in those
19    declarations, and for other individuals only the names were provided. As of this writing,
      for at least ten other declarations Plaintiffs never provided any names or A#s. The
20    information that was provided, was provided barely one week before Defendants’
21    opposition brief was due to the Court. This failure to provide timely information, and to
      provide identifying information that allows Defendants to easily locate files on each
22    individual, has compounded the challenges that Defendants are facing in responding to
      allegations by between fifty and one hundred declarants in only one or two weeks, and in
23
      some cases without all of the necessary information. At a minimum, if the Court intends
24    to rely on these redacted declarations for which late or no identifying information was
      provided to Defendants, the Court should order Plaintiffs to disclose to Defendants the
25    names and A#s of all individuals upon whose statements they wish to rely, and provide
      Defendants with an additional opportunity to respond to those statements. In the
26
      alternative, there is good reason to strike all of those declarations because it would be
      unfair to the Defendants to allow Plaintiffs to rely on those statements without having
      provided Defendants with a meaningful opportunity to respond.
                                                   32
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 1    regarding these inconsistencies. The Court should decline to make a factual finding that
 2
      the Agreement is being breached based only on this evidence. Therefore, if the Court
 3
      believes that Plaintiffs’ evidence is sufficient to warrant further exploration of the issue
 4

 5    then the Court should order additional fact-finding and an evidentiary hearing.

 6              B.      Defendants Advise Juveniles Of Their Rights.
 7
             Plaintiffs generally claim that Defendants are violating Paragraph 24D, because
 8
      juveniles are not being given any advisals of their rights under the Agreement. Plaintiffs
 9
      base their contention on statements by numerous individuals that they had not been
10

11    advised of their “rights under Flores.” See Plaintiffs Exh. 2 at 11-12. The Agreement lists
12    three specific advisals ((1) the Form I-770; (2) the Notice of Right to Judicial Review;
13
      and (3) a list of legal service providers) that DHS is required to give to juveniles.
14
      Plaintiffs have not identified any additional rights advisals that they contend are required
15

16    under the Agreement.

17           In fact, current CBP policy is to provide Form I-770 to all juveniles it processes
18
      for removal, whether accompanied or unaccompanied. Padilla Decl. ¶ 91; James Decl. ¶
19
      41; Romero Decl. ¶¶ 41-42; Brooks Decl. ¶ 50; Perez Decl. ¶ 34; Martinez Decl. ¶ 48;
20
      Hastings Decl ¶ 47. 14 CBP facilities also provide a list of free legal services to those
21

22    juveniles it processes for removal. Hastings Decl ¶ 48; Scott Decl. ¶ 50; Beeson Decl. ¶
23    57; Brooks Decl. ¶ 51; James Decl. ¶ 42; Perez Decl. ¶ 45; Martinez Decl. ¶ 49; Padilla
24

      14
25       Although Form I-770 is provided to accompanied minors in order to comply with the
      Court’s August Order and its interpretation of the Agreement, it should be noted that the
26
      Form advises that the minor has a right to a hearing before an immigration judge, and this
      right does not actually apply to accompanied minors who are, with their parent or
      guardian, being placed into expedited removal proceedings.
                                                    33
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 1    Decl. ¶ 92. ICE also provides information about free legal service providers, as well as a
 2
      legal services orientation, and free phone calls to a number of legal service providers and
 3
      consular officials. Hester Decl. ¶¶ 6, 14, 15; de la Garza Decl. ¶¶ 14-15; Reid Decl. ¶¶ 9,
 4

 5    10. Therefore, Plaintiffs are incorrect that there is no policy or practice in place to ensure

 6    that rights advisals are provided to juveniles.
 7
             With regard to the Notice of Right to Judicial Review, Defendants acknowledge
 8
      that the precise notice provided in Exhibit 6 to the Agreement is not provided to juveniles
 9
      in family residential centers. However, since Plaintiffs have identified this as an area
10

11    concern and thereby brought this issue to ICE’s attention, ICE is willing to provide such
12    notice and is working to implement a procedure to provide the notice to accompanied
13
      minors at ICE family residential centers. See Hester Decl. ¶ 10; de la Garza Decl. ¶ 10;
14
      Reid Decl. ¶ 11. This oversight, which is easily and gladly remedied once it was brought
15

16    to ICE’s attention, is not sufficient reason to find Defendants in breach of the Agreement

17    and order substantial additional remedies such as the appointment of a special master.
18
                D.      Defendants Make And Record Ongoing Efforts To Release All
19                      Family Units Eligible For Release, And The Agreement Permits The
                        Continued Detention Of Family Units Who Are Detained Pending
20                      Removal, Subject To Mandatory Detention, Or Where The Parent
21
                        Has Been Determined To Be A Flight Risk.

22           Plaintiffs claim that the current use of ICE family residential centers violates
23    Paragraphs 14 and 18 of the Agreement. In essence, Plaintiffs are asking the Court to
24
      reconsider its August Order that any use of the facilities is permissible and in accordance
25
      with the Agreement. As discussed above, ICE moves as expeditiously as possible to
26

      process the credible fear and reasonable fear claims of individuals in its custody. Thus, of


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 1    the 18,706 residents initially booked into the FRCs from October 23, 2015, to May 18,
 2
      2016, and subsequently released or removed as of May 16, 2016, the average length of
 3
      stay was 11.8 days. Gurule Decl. ¶ 13. This is entirely consistent with the Agreement
 4

 5    and with the Court’s July and August Orders.

 6           Plaintiffs cannot show that ICE fails to make immediate and continuous efforts to
 7
      release family units once their eligibility for release has been established. At both Karnes
 8
      and Dilley, ERO officers obtain contact information from each family on family
 9
      members located in the United States, if available. Hester Decl. ¶¶ 11; de la Garza Decl. ¶
10

11    11. Upon a positive credible fear or reasonable fear finding either by USCIS or an
12    immigration judge, at Karnes and Dilley ICE Enforcement and Removal Operations
13
      (“ERO”) then serves the charging document on the resident and makes a custody
14
      determination. Hester Decl. ¶¶ 4, 11; de la Garza Decl. ¶ 11. For residents who are being
15

16    released, ERO then utilizes family information obtained during intake and any additional

17    information that the resident provides, and processes the resident for release. Hester Decl.
18
      ¶ 11; de la Garza Decl. ¶ 11. Release generally occurs within 24-48 hours at Karnes, and
19
      48-72 hours at Dilley, from the time the charging document is served on the resident.
20
      Hester Decl. ¶ 11; de la Garza Decl. ¶ 11. 15
21

22           Moreover, the continued detention of a limited number of family units who are
23    subject to mandatory detention, or who have a final order of removal and the parent has
24
      been determined to constitute a flight risk, does not violate the Agreement or this Court’s
25
      orders. See supra Section II.B. Notably, in previous litigation in this case, Plaintiffs have
26
      15
         This time frame is may also be dependent on the resident’s travel arrangement
      preference and family/sponsor availability. Hester Decl. ¶ 11; de la Garza Decl. ¶ 11.
                                                      35
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 1    acknowledged that the authority to detain individuals for purposes of removal under 8
 2
      U.S.C. § 1231 applied to minors, and was not precluded by the Agreement so long as it
 3
      did not otherwise violate the statute. See ECF No. 19 at 31 (“[N]othing in the settlement
 4

 5    precludes defendants from detaining a child in the course of physically removing him or

 6    her, but neither does it permit months or years of open-ended incarceration.”); id. at 32
 7
      (acknowledging that detention in secure facilities to effectuate removal is proper if there
 8
      is a “reasonable expectation that they will be able to effect removal promptly”).
 9
             Finally, despite Plaintiffs’ suggestions to the contrary, nothing in the Court’s
10

11    orders requires Defendants to separate those minors from their parents to comply with the
12    Agreement. In fact, the Court’s July Order recognized that continued detention of the
13
      child with his or her parent in those instances is permissible and preferable. See July
14
      Order at 9 n.5. Moreover, even if the Court were to order such a result, ICE does not have
15

16    the resources or the institutional experience to assess whether an adult seeking custody of

17    a minor is a suitable custodian who will house the minor in a suitable home environment.
18
      Gurule Decl ¶ 16. The average length of custody of an unaccompanied minor in HHS
19
      custody is 34 days. See http://www.acf.hhs.gov/programs/orr/about/ucs/facts-and-data.
20
      That is how long it takes HHS on average to reunite unaccompanied minors with suitable
21

22    adults in suitable home environments in accordance with the reunification requirements
23    in the Trafficking Victims Protection Reauthorization Act. ICE should not direct its
24
      resources to engaging in such efforts for only a small number of families, when its overall
25
      goal for the vast majority of families in its custody is to remove the entire family
26

      promptly or to release the entire family together within 20 days. Every resource ICE


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 1    would spend on a suitability analysis of the proposed custodian and the proposed home
 2
      would be a resource that could not be spent processing families out of the facility as
 3
      quickly as possible. See Gurule Decl. ¶ 16.
 4

 5           Defendants have made every effort to conform the use of ICE family residential

 6    centers to the Court’s interpretation of the Agreement, and the requirements laid out in
 7
      the Court’s August Order. In order to comply with the Court’s Order, ICE has
 8
      implemented many improvements at its family residential centers including increased
 9
      staff, improved processes, additional residential resources, improved legal access, and
10

11    increased oversight of operations in order to expedite the processing of families through
12    its centers. See Gurule Decl. ¶¶ 9, 15. The fact that Plaintiffs may disagree with the
13
      Court’s order, and the use of ICE family residential centers that it permits, is not good
14
      reason to reopen the prior litigation, or to permit Plaintiffs to seek untimely
15

16    reconsideration of the August Order. Therefore, the Court should Deny Plaintiffs’

17    challenges to Defendants’ permissible use of ICE family residential centers.
18
                E.      8 U.S.C. § 1252(f)(1) Precludes This Court From Entering Class-
19                      Wide Injunctive Relief Requiring Release of Those Properly
                        Detained Under the Immigration and Nationality Act.
20
             To the extent Plaintiffs are asking the Court to reconsider its August Order, and to
21

22    find that the Agreement requires the release of individuals who are lawfully detained
23    under the Immigration and Nationality Act (“INA”), such a reading of the Agreement is
24
      prohibited. See 8 U.S.C. § 1252(f)(1); see also Reno v. American-Arab Anti-
25
      Discrimination Committee, 525 U.S. 471, 482 (1999) (“By its plain terms, and even by its
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      title, [8 U.S.C. § 1252(f)] is nothing more or less than a limit on injunctive


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 1    relief.”). Specifically, 8 U.S.C. § 1252(f)(1) provides that “no court other than the
 2
      Supreme Court shall have jurisdiction or authority to enjoin or restrain the operations of
 3
      the provisions of [8 U.S.C. §§ 1221-1231], other than with respect to an individual alien
 4

 5    against whom proceedings under such part have been initiated.”

 6           In the August Order, the Court made clear that it did not intend to order that ICE
 7
      release individuals who were properly detained under the INA, stating that Defendants’
 8
      “fears that the remedial order will contravene the INA are unfounded.” August Order at
 9
      9. Yet Plaintiffs now contend that the Government is violating the August Order and the
10

11    Agreement by continuing to hold individuals who are subject to mandatory detention
12    under 8 U.S.C. § 1225(b), or who are being detained pending removal under 8 U.S.C. §
13
      1231, and have been found to constitute a flight risk. If this is true, then the August Order
14
      and the Agreement would constitute impermissible restrictions, on a class-wide basis, on
15

16    the operations of these sections of the INA, in violation of 8 U.S.C. § 1252(f)(1). The

17    Court cannot and should not read the Agreement to impose restrictions or requirements
18
      that are prohibited by the statute, and therefore Plaintiffs’ request that the Court read such
19
      restrictions into the Agreement should be denied.
20

21
                F.      Accompanied Minors Are Detained With Their Parents At ICE
                        Family Residential Centers.
22
             Plaintiffs claim that ICE family residential centers violate the Agreement because
23

24
      they require that minors be housed with unrelated adults. Motion at 14-15. As an initial

25    matter, this argument is an attempt to end-run around the fact that the Court’s August
26
      Order left intact some permissible use for ICE family residential centers, by striking at

      their very existence. This should not be allowed.
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 1           Moreover, the Agreement’s prohibition in 12.A regarding the placement of minors
 2
      with unrelated adults clearly states that it is referring to “unaccompanied minors.” See
 3
      Paragraph 12.A. 16 Therefore, there is good reason to find that this prohibition in the
 4

 5    Agreement is not violated by the system of housing at ICE family residential centers.

 6    Accompanied minors who are housed at ICE family residential centers remain with their
 7
      parents, who are responsible for their oversight and care. See Hester Decl. ¶ 17; de la
 8
      Garza Decl. ¶ 17; Reid Decl. ¶ 3. When children attend school or day-care at the
 9
      facilities, they are supervised by licensed education professionals or other staff trained in
10

11    childcare. Hester Decl. ¶ 17. In Karnes, all children are assigned to a suite with their
12    parent, and adults are prohibited from congregating in those suites. Hester Decl. ¶ 17. In
13
      Dilley, adults are prohibited from entering a suite other than the one assigned to them. de
14
      la Garza Decl. ¶ 17.
15

16           In Berks, family units, including those with a male head of household, may

17    commingle in the common areas, but all adults are prohibited from commingling in the
18
      bedrooms, and both male and female residents are precluded from entering the bedrooms
19
      occupied by an adult of the opposite sex. Reid Decl. ¶ 17. In addition, anytime an
20
      unrelated child is present in a bedroom, adult residents, regardless of his/her sex, must
21

22    have staff supervision while in that bedroom if the child’s parent is not present. Id.
23    Children may enter their parent’s bedroom only in the company of their parents. Id.
24

25

26    16
        And to be precise, Paragraph 12A refers to the initial custody after apprehension, now
      conducted by CBP, and not to longer-term detention, then under 8 U.S.C § 1252, and
      now conducted by ICE under 8 U.S.C. §§ 1225, 1226, and 1231.
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 1           Because accompanied children at ICE family residential centers remain with their
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      parents, the Agreement’s prohibition on placing unaccompanied minors with unrelated
 3
      adults does not apply. Moreover there are additional protections in place even above
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 5    those required by the Agreement to ensure the protection of residents at ICE family

 6    residential centers. Therefore, the Court should find that ICE family residential centers do
 7
      not violate the Agreement in this regard.
 8
                 G.     Defendants Do Not Interfere With Any Minor’s Right To Counsel.
 9
             The Agreement does not provide any right to counsel, and Plaintiffs cite to no
10

11    provision of the Agreement that they claim is being breached by Defendants in this
12    regard. As noted above, both CBP and ICE provide family units with lists of legal
13
      services providers. Hastings Decl ¶ 48; Scott Decl. ¶ 50; Beeson Decl. ¶ 57; Brooks Decl.
14
      ¶ 51; James Decl. ¶ 42; Perez Decl. ¶ 45; Martinez Decl. ¶ 49; Padilla Decl. ¶ 92; Hester
15

16    Decl. ¶¶ 14, 15; de la Garza Decl. ¶¶ 14, 15; Reid Decl. ¶¶ 10. At ICE family residential

17    facilities, residents also receive a legal services orientation, and have the ability to make
18
      free phone calls to a number of legal service providers and consular officials. Hester
19
      Decl. ¶¶ 14, 15; de la Garza Decl. ¶¶ 14, 15; Reid Decl. ¶¶ 10. Attorneys also regularly
20
      visit all of the facilities, and residents are free to meet with them when they are there.
21

22    Hester Decl. ¶ 14; de la Garza Decl. ¶ 14; Reid Decl. ¶ 10. Therefore, Plaintiffs cannot
23    credibly claim that they are being denied access to legal services at ICE family residential
24
      centers.
25
             Plaintiffs further claim that Defendants violate the Agreement by transferring
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      individuals from ICE family residential centers without providing notice to their counsel,


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 1    in violation of Paragraph 27A of the Agreement. Motion at 17. However, except in
 2
      unusual and compelling circumstances, ICE ERO does provide advance notice to counsel
 3
      regarding the transfer of a resident if that counsel has entered an appearance as counsel
 4

 5    with ICE. See de la Garza Decl. ¶ 20; Hester Decl. ¶ 16; Reid Decl. ¶ 10.

 6           IV.    CONCLUSION
 7
             For the foregoing reasons, the Government requests that the Court deny Plaintiffs’
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      Motion.
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 1                                 CERTIFICATE OF SERVICE
 2
            I hereby certify that on June 3, 2016, I served the foregoing pleading on all
 3

 4    counsel of record by means of the District Clerk’s CM/ECF electronic filing system.

 5

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